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             8                                        UNITED STATES DISTRICT COURT
             9                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
           10                                                SAN FRANCISCO DIVISION
           11
           12
                 Bitcoin Manipulation Abatement LLC,                                  Case No. 3:20-cv-3022
           13
                                                                                      COMPLAINT FOR UNREGISTERED
           14                            Plaintiff,                                   OFFER AND SALE OF SECURITIES
                                                                                      IN VIOLATION OF 15 U.S.C. §
           15                                                                         77l(A)(1), CONTROL PERSON
                                                                                      LIABILITY UNDER 15 U.S.C. § 77o,
           16                    v.                                                   UNREGISTERED OFFER AND SALE
                                                                                      OF SECURITIES IN VIOLATION OF
           17                                                                         CAL. CORP. CODE § 25503, CONTROL
                                                                                      PERSON LIABILITY UNDER CAL.
           18    Ripple Labs, Inc., XRP II, LLC and Bradley                           CORP. CODE § 25504,
                 Garlinghouse,                                                        MISREPRESENTATION IN
           19                                                                         VIOLATION OF CAL. CORP. CODE §§
                                                                                      25401, 25501 AND 25504.1, AND
           20                            Defendants.                                  UNFAIR BUSINESS PRACTICES IN
                                                                                      VIOLATION OF CAL. BUS. & PROF.
           21                                                                         CODE § 17200 ET SEQ. AND FALSE
                                                                                      ADVERTISING IN VIOLATION OF
           22                                                                         CAL. BUS. & PROF. CODE § 17500 ET
                                                                                      SEQ.
           23
                                                                                      DEMAND FOR JURY TRIAL
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             1
                                                                           COMPLAINT
             2
                         Plaintiff, Bitcoin Manipulation Abatement LLC (“Plaintiff”, “BMA”), by and through its
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                 undersigned attorneys, for its Complaint against Defendant Ripple Labs, Inc. (“Ripple” or
             4
                 “Ripple Labs”), Defendant XRP II, LLC (“XRP II”) and Defendant Bradley Garlinghouse
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                 (“Garlinghouse”) (collectively “Defendants”) alleges as follows:
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                                                                        INTRODUCTION
             7
                         1.         This action arises out of a scheme by Defendants to raise more than billion dollars
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                 through sales of XRP—an unregistered security—to retail investors in violation of the registration
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                 provisions of federal and California securities laws with the primary purpose to enrich Ripple’s
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                 executives, directors, founders, and affiliates. Additionally, in order to drive demand for and
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                 thereby increase profits from the sale of XRP, Defendants have made a litany of false and
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                 misleading statements regarding XRP in violation of California’s securities laws, and false
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                 advertising and unfair competition laws.
           14
                         2.         XRP is a security because the purchasers thereof were conditioned to expect and in
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                 fact expected to profit from Ripple ‘s success. Sale of XRP by Defendants was a clear offer and
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                 sale of securities because, inter alia, Defendants touted, and Plaintiff and other XRP purchasers
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                 were conditioned to expect, and did reasonably expect, that the XRP received would increase in
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                 value and become worth more than the fiat and/or virtual currencies invested. Indeed, Defendants
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                 have explicitly referred to purchasers of XRP as “investors” and repeatedly stressed their
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                 intention to keep the value of XRP stable and increasing, and that XRP would be a long-term
           21
                 growth asset. XRP is not a currency because, among other things, there are no products or
           22
                 services that can be purchased with XRP. Rather, there is an expectation on the part of investors
           23
                 that they will profit if Ripple builds out the functionalities and alliances that it has promised.
           24
                         3.         Sections 5(a) and 5(c) of the Securities Act require that an issuer of securities like
           25
                 XRP register its offers and sales of securities with the SEC. Similar registration requirements are
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                 imposed by Section 25110 of the California’s securities law. The registration requirements under
           27
                 the federal securities laws and California state law are designed to protect investors by ensuring
           28
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             1
                 they are provided adequate information upon which to base their investment decisions. Absent
             2
                 registration or qualification, issuers of securities are able to market their securities with no
             3
                 disclosure requirements whatsoever. For example, an issuer could omit any information that
             4
                 might make a potential investor think twice before investing (e.g., conflicts of interest or major
             5
                 setbacks to core product lines), peddle its securities using unbounded exaggerations regarding the
             6
                 progress of its products, business plan, business strategies, or even fabricate the existence of
             7
                 relationships with vendors or other business partners.
             8
                         4.         Due to the varied and innumerable ways in which investors can be, and are likely
             9
                 to be, manipulated and harmed absent any of the protections under the federal securities laws,
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                 Sections 5 and 12(a)(1) of the Securities Act and Section 25110 of the California’s securities law
           11
                 provide for strict liability against any person who offers or sells an unregistered/unqualified
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                 security. As detailed herein, the sale of XRP by Defendants was, at all relevant times, an offer and
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                 sale of unregistered securities. Accordingly, Defendants are strictly liable under Section 12(a)(1)
           14
                 of the Securities Act. Defendants are strictly liable for the offering and selling of unregistered
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                 securities in connection with the sale of XRP to general public starting on May 18, 2017.
           16
                 Nevertheless, with respect to Plaintiffs’ Registration Claims, Defendants’ deceptive activity is
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                 outlined herein to demonstrate the Defendants’ control over XRP and Defendants’ conditioning
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                 of the marketplace to expect a profit from purchasing XRP -- a characteristic of an investment
           19
                 contract security.
           20
                         5.         Unlike decentralized cryptocurrencies such as Bitcoin and Ethereum, which are
           21
                 mined in a decentralized manner by operators of network nodes as a reward for validating
           22
                 transactions on their respective networks, which requires expenditure of significant resources,
           23
                 such as electricity, all 100 billion of the XRP in existence were “printed” in a centralized manner,
           24
                 without incurring any significant costs, by Ripple at its inception in 2013, before any distribution
           25
                 thereof and without any real life utility or any other useful functionality except for its sole use as
           26
                 a speculative investment. In other words, unlike some virtual currencies, XRP was fully
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                 generated prior to its distribution. Twenty billion XRP, or 20 percent of the total XRP supply,
           28
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             1
                 were given to the individual founders of Ripple, with the remaining 80 billion XRP retained by
             2
                 Ripple itself.
             3
                         6.         Moreover, XRP is not a decentralized cryptocurrency like Bitcoin, which is mined
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                 by a decentralized set of nodes as a compensation for verifying network transactions. As recently
             5
                 stated by CoinMotion, a crypto-token exchange that listed XRP, in a blog post entitled XRP is a
             6
                 Centralized Virtual Currency, “the Ripple system appears to be centralized for all practical
             7
                 purposes. It probably lacks many interesting technical features that Bitcoin has, such as resistance
             8
                 to censorship.”
             9
                         7.         Defendants have since earned massive profits by selling off XRP to the general
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                 public, in numerous offerings, having sold over $1.1 billion in XRP to retail consumers in
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                 exchange for legal tender or cryptocurrencies (most often Bitcoin and Ethereum). The value of
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                 XRP owned by Defendants substantially exceeds the value of Ripple’s revenue or cashflow from
           13
                 all other sources. Ripple’s dominant value proposition is the XRP tokens it owns and sells.
           14
                 Ripple’s value proposition as a company depends upon the promotion of XRP, yet XRP is
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                 entirely or essentially pre-functional and purchased by investors in anticipation of profit based on
           16
                 the efforts of Ripple.
           17
                         8.         In order to drive demand for XRP, and thereby increase the profits it can derive by
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                 selling XRP, Ripple has portrayed XRP as a good investment, relayed optimistic price
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                 predictions, and conflated Ripple’s enterprise business with usage of XRP. Ripple is inextricably
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                 linked to the promotion of XRP. Ripple lines up crypto-exchanges to list XRP and pays
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                 substantial listing fees as part of those promotional efforts, and Ripple’s website links to trading
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                 markets for XRP, to facilitate additional purchases by retail customers. Ripple also placed a
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                 substantial percentage of XRP that it owned into escrow and developed a plan as to when XRP
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                 should be sold and in what quantities, all to limit selling pressure on the market in order to prop-
           25
                 up the price of XRP. For example, in 2014, Ripple publicly stated on its
           26
                 www.ripplelabs.com/xrp-distribution/ website that “we will engage in distribution strategies that
           27
                 we expect will result in a stable or strengthening XRP exchange rate against other currencies.”
           28
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             1
                 Ripple greatly increased these efforts to push XRP on the general public starting on May 18,
             2
                 2017, when Ripple began listing XRP on U.S. cryptocurrency exchanges, such as Kraken. The
             3
                 price of XRP has fallen dramatically since early 2018, leaving its investors, including Plaintiff,
             4
                 with substantial financial losses.
             5
                         9.         Defendants also reportedly offered to pay substantial sums of money to popular
             6
                 U.S.-based cryptocurrency exchanges Coinbase, Inc. (“Coinbase”) and Gemini Trust Company,
             7
                 LLC (“Gemini”) to list XRP. In or about the fall of 2017, Ripple is reported to have offered
             8
                 Coinbase more than $100 million worth of XRP to start letting Coinbase users trade XRP. A
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                 Ripple executive is also reported to have asked whether a $1 million cash payment could
           10
                 persuade Gemini to list XRP in the third quarter of 2017. Although both Gemini and Coinbase
           11
                 declined to pursue these proposals, rumors that XRP would be added to Coinbase fueled its price
           12
                 increase in late 2017 and early 2018. Ripple was the source of these rumors.
           13
                         10.        Federal securities laws require any security that is offered or sold in the U.S. to be
           14
                 registered with the Securities and Exchange Commission (“SEC”). Similarly, California
           15
                 Securities Laws require that securities offered or sold be either qualified with the Commissioner
           16
                 of Corporations or exempted from registration by a specific Rule of the Commissioner or law.
           17
                 These securities laws are designed to protect the public by requiring various disclosures so that
           18
                 investors can better understand the security that is being offered or sold, as well as risks
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                 associated with investment in that security. Absent the disclosures required by law about those
           20
                 efforts and the progress and prospects of the enterprise, significant informational asymmetries
           21
                 may exist between the management and promoters of the enterprise on the one hand, and
           22
                 investors and prospective investors on the other hand. The reduction of these information
           23
                 asymmetries through required disclosures protects investors and is one of the primary purposes of
           24
                 the securities laws.
           25
                         11.        Under section 2(a)(1) of the Securities Act of 1933 (“Securities Act”), 15 U.S.C. §
           26
                 77b(a)(1), a “security” is defined to include an “investment contract.” Similarly, section 25019 of
           27
                 the California Corporations Code defines a “security” to include an “investment contract.”
           28
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             1
                         12.        The SEC has made it clear that digital tokens, such as XRP, often constitute
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                 “securities and may not be lawfully sold without registration with the SEC or pursuant to an
             3
                 exemption from registration.” One of the top financial regulators in President Obama’s
             4
                 administration has likewise stated that there is a “strong case” to conclude that “particularly
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                 Ripple” has violated securities laws by issuing and trading “noncompliant securities.”
             6
                         13.        The SEC’s Strategic Hub for Innovation and Financial Technology (“FinHub”) has
             7
                 also published the Framework for ‘Investment Contract’ Analysis of Digital Assets (“SEC
             8
                 Framework”), providing guidance for assessing whether a crypto-token offering is a security
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                 under federal law. As explained in more detail below, applying the analysis in the SEC
           10
                 Framework and applicable precedent, the XRP tokens offered and sold by Defendants have all the
           11
                 traditional hallmarks of a security, as reflected in SEC v. W.J. Howey Co., 328 U.S. 293 (1946)
           12
                 (“Howey”), and subsequent case law. XRP tokens also qualify as a security under California law.
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                         14.        XRP purchasers, including Plaintiff, provided money consideration (in the form of
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                 fiat, including U.S. dollars, or other cryptocurrencies, such as Bitcoin) in exchange for XRP. XRP
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                 purchasers reasonably expected to derive profits from their ownership of XRP, and Defendants
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                 themselves have frequently highlighted this profit motive and have taken steps to accomplish it,
           17
                 including by promoting XRP. Additionally, the development of the XRP Ledger, and the profits
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                 that investors expected to derive therefrom, were, and are, based on the technical, managerial, and
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                 entrepreneurial efforts of Defendants and other third parties employed by Defendants.
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                         15.        However, Defendants did not register XRP with the SEC or qualify it with the
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                 California Commissioner of Corporations, and many of the representations Defendants made
           22
                 regarding XRP were designed to drive demand of XRP, allowing Defendants to obtain greater
           23
                 returns on their XRP sales. This is exactly the situation that federal and state securities laws
           24
                 were enacted to prevent.
           25
           26                                                       NATURE OF ACTION
                         16.        This is an action to recover damages and to obtain other relief that Plaintiff has
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                 sustained due to Defendants’ unregistered and unqualified offers and sales of securities in
           28
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             1
                 violation of Sections 5, 12(a)(1), and 15 of the Securities Act, 15 U.S.C. §§ 77e, 77l, and 77o, and
             2
                 Sections 25110, 25503, 25504, and 25401 of the California Corporations Code and false
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                 advertising and unfair competition under California law.
             4
             5                                                                 PARTIES
                         17.        Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-16 above as if
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                 fully set forth herein.
             7
                         18.        Plaintiff BMA is a limited liability company duly formed and existing under the
             8
                 laws of the United States territory of Puerto Rico.
             9
                         19.        Defendant Ripple Labs, Inc. is a Delaware corporation with its principal place of
           10
                 business located at 315 Montgomery St, San Francisco, California, 94104, United States.
           11
                         20.        Defendant XRP II, LLC is a New York limited liability company with its principal
           12
                 place of business located at 315 Montgomery St, San Francisco, California, 94104, United States.
           13
                         21.        Defendant Garlinghouse is the Chief Executive Officer of Ripple, a position he has
           14
                 held since January 2017. Defendant Garlinghouse was Ripple’s President and Chief Operating
           15
                 Officer from April 2015 through December 2016. Defendant Garlinghouse is a resident of San
           16
                 Mateo, California. Defendant Garlinghouse exercised control over Ripple and directed and/or
           17
                 authorized, directly or indirectly, the sale and solicitation of XRP to the public.
           18
                                                              JURISDICTION AND VENUE
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                         22.        Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-21 above as if
           20
                 fully set forth herein.
           21
                         23.        This Court has subject matter jurisdiction over claims under the Securities Act
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                 pursuant to 15 U.S.C. § 78aa and 28 U.S.C. § 1331, and supplemental jurisdiction over the entire
           23
                 action under 28 U.S.C. § 1367. Specifically, this Court has jurisdiction over the claims of
           24
                 violations under California securities law pursuant to this Court’s supplemental jurisdiction under
           25
                 28 U.S.C. § 1367(a).
           26
                         24.        This Court has personal jurisdiction over Defendants, and each of them, pursuant
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                 to California long arm statute codified in Cal. Code Civ. Proc. § 410.10. Specifically, this Court
           28
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             1
                 also has personal jurisdiction over Defendants because they reside or have their principal places
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                 of business in California and in this District.
             3
                         25.        This Court has personal jurisdiction over Defendants as a result of acts of
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                 Defendants occurring in or aimed at the State of California in connection with Defendants’
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                 unregistered offers and sales of securities in violation of Sections 5, 12(a)(1), and 15 of the
             6
                 Securities Act, 15 U.S.C. §§ 77e, 77l, and 77o, and Sections 25110, 25503, 25504, and 25401 of
             7
                 the California Corporations Code; and California’s false advertising and unfair competition laws.
             8
                         26.        Venue is proper in the United States District Court for the Northern District of
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                 California pursuant to 15 U.S.C. § 78aa and 28 U.S.C. § 1391(b) and (c) because: (a) the conduct
           10
                 at issue took place and had an effect in this District; (b) a substantial portion of the corporate
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                 transactions and wrongs complained of herein occurred here; and (c) Defendants have received
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                 substantial compensation and other transfers of money by doing business here and engaging in
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                 activities having an effect in this District..
           14
                                                           INTRADISTRICT ASSIGNMENT
           15
                         27.        Pursuant to Civil Local Rule 3-5 of the United States District Court for the
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                 Northern District of California, the San Francisco division is the proper venue because substantial
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                 part of the events or omissions, which give rise to this action has occurred in San Francisco
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                 county, where Defendants’ Ripple and XRP II principal offices are located.
           19
                                                                         BACKGROUND
           20
                         28.        Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-27 above as if
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                 fully set forth herein.
           22
                         29.        Unlike cryptocurrencies such as Bitcoin and Ethereum, which are mined by those
           23
                 validating transactions on their networks, all 100 billion XRP were created out of thin air by
           24
                 Ripple in 2013, prior to its distribution to investors and without any functionality. Twenty billion
           25
                 XRP, or 20 percent of the total XRP supply, were given to the individual founders of Ripple.
           26
                 Founders Chris Larsen and Jed McCaleb each received 9.5 billion XRP, while Arthur Britto
           27
                 received 1 billion XRP.
           28
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             1
                         30.        Ripple retained the remaining 80 billion XRP, which it planned to sell to fund
             2
                 company operations and to improve and promote the XRP Ledger.
             3
                         31.        Ripple’s own wiki states that “Ripple Labs sells XRP to fund its operations and
             4
                 promote the network. This allows Ripple to have a spectacularly skilled team to develop and
             5
                 promote the Ripple protocol and network.”
             6
                         32.        In May 2015, regulatory authorities in the United States fined Ripple and XRP II
             7
                 $700,000 for violating the Bank Secrecy Act by selling XRP without obtaining the required
             8
                 authorization. As part of that settlement, Defendants acknowledged that they had sold XRP and
             9
                 agreed to a number of remedial measures, including registration with FinCEN.
           10
                         33.        From December 2014 to July 2015, Ripple disclosed on its website the amount of
           11
                 XRP it held and the amount in circulation. The disclosure for June 30, 2015 stated that Ripple
           12
                 held approximately 67.51 billion XRP, more than double the approximately 32.49 billion XRP
           13
                 held by all others. The XRP held by others also significantly overstates independent holdings of
           14
                 XRP because it includes the 20 billion provided to founders and an undisclosed amount of XRP
           15
                 used in “business development agreements that are still pending.”
           16
                         34.        Ripple’s Project Manager for Risk and Compliance, Rebecca Schwartz, conceded
           17
                 this in a May 14, 2015 affidavit, stating: “The 9 billion XRP initially retained by Mr. McCaleb is
           18
                 included in the roughly 32 billion XRP that is available to the market.”
           19
                                        Defendants’ Primary Source of Income Is the Sales of XRP
           20
                         35.        While Ripple sells and publicly touts its enterprise software products and
           21
                 solutions, including xCurrent, xRapid, and xVia (collectively, “Ripple Enterprise Solutions”),
           22
                 Ripple’s primary source of income is the sales of XRP.
           23
                         36.        Ripple’s Chief Technology Officer, David Schwartz, has conceded “[a]s a
           24
                 corporation, we are legally obligated to maximize shareholder value. With our current business
           25
                 model, that means acting to increase the value and liquidity of XRP. We believe this will happen
           26
                 if the Ripple network is widely adopted as a payment system. We are pursuing multiple avenues
           27
                 at once. One would expect increased demand to increase price.”
           28
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             1
                         37.        Defendants’ sales of XRP to the public accelerated rapidly in 2017 and early 2018,
             2
                 and Defendants have earned over $1.1 billion dollars through the sale of XRP since May 18,
             3
                 2017—XRP which costs Defendants nothing since they created it out of thin air. Defendants sell
             4
                 XRP wholesale to larger investors and also sell significant quantities of XRP directly to the
             5
                 general public on cryptocurrency exchanges starting on May 18, 2017.
             6
                         38.        According to Ripple itself, in the second quarter of 2019, XRP II “sold $251.51
             7
                 million XRP in Q2 2019, including $106.87 million directly to institutional investors and $144.64
             8
                 in programmatic exchange sales.”
             9
                         39.        In the first quarter of 2019, XRP II “sold $61.93 million of XRP in institutional
           10
                 direct sales and $107.49 million of XRP in programmatic [exchange] sales.”12
           11
                         40.        In the fourth quarter of 2018, “Ripple sold $88.88 million worth of XRP,
           12
                 programmatically,” and XRP II “sold $40.15 million worth of XRP in institutional direct sales.”
           13
                         41.        In the third quarter of 2018, “Ripple sold $65.27 million worth of XRP
           14
                 programmatically,” and XRP II “sold $16.87 million XRP in direct sales.”
           15
                         42.        In the second quarter of 2018, “Ripple sold $56.66 million worth of XRP
           16
                 programmatically,” and XRP II “sold $98.06 million worth of XRP in institutional direct sales.”
           17
                         43.        In the first quarter of 2018, “market participants purchased $16.6 million [of XRP]
           18
                 directly from XRP II.” XRP II also “sold $151.1 million worth of XRP” on exchanges.
           19
                         44.        In the fourth quarter of 2017, “market participants purchased $20.1 million directly
           20
                 from XRP II,” and XRP II sold an additional “$71.5 million worth of XRP” on exchanges.
           21
                         45.        In the third quarter of 2017, “market participants purchased $19.6 million directly
           22
                 from XRP II,” and XRP II sold an additional “$32.6 million worth of XRP” on exchanges.
           23
                         46.        The money raised through the sales of XRP substantially exceeds the amount of
           24
                 money needed to establish a functional network or digital asset. There is also little apparent
           25
                 correlation between the purchase price of XRP and the market price of any goods or services that
           26
                 can be acquired in exchange for XRP, which to date has not been functionally adopted nor used in
           27
                 any meaningful way.
           28
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             1
                         47.        Ripple and its CEO, Garlinghouse, have repeatedly claimed that XRP has utility—
             2
                 like currency—in its use as a “bridge currency” for international payments. For example, in an
             3
                 interview that was published by Forbes on October 23, 2017, Garlinghouse was asked “Why do
             4
                 banks need XRP” and responded “It’s about liquidity. If you have a utility token like XRP that
             5
                 has a real value proposition.”20 Similarly, in an interview with BNN, retweeted by Ripple on
             6
                 December 14, 2017, Garlinghouse stated: “If they [digital tokens] are solving a real problem, and
             7
                 that problem has scale, and that problem, you know there is real value there, then there will be
             8
                 demand for the tokens and the price will go up. For XRP we have seen because it’s required, it’s
             9
                 something that can really reduce the friction, and we’re talking about a multi-trillion dollar
           10
                 problem in how cross-border payments flow. And so, I think if you drive real utility, yes there’s
           11
                 going to be demand for that.” In a December 27, 2017 interview with CNBC, Garlinghouse once
           12
                 again stated “we use XRP to settle liquidity between banks.”
           13
                         48.        Similarly, in a February 14, 2015 Submission to the Conference of State Bank
           14
                 Supervisors, submitted by Ripple’s Chief Compliance Officer Karen Gifford, Ripple claimed that
           15
                 it “is designed to be used directly by (1) banks and financial services business, (2) payment
           16
                 networks, and (3) liquidity providers.” In that same Submission, Ripple stated that “it holds a
           17
                 substantial amount of XRP, which it sells from time to time, to financial institutions and entities
           18
                 seeking to be market makers. Through these sales, Ripple Labs is able to monetize these assets to
           19
                 fund its operations, specifically the development and adoption of the protocol.” Ripple posted this
           20
                 submission on its website and publicized it through its Ripple Insights blog.
           21
                         49.        However, as discussed above, more than 60 percent of XRP is owned by Ripple
           22
                 and none of that XRP is used for anything at all, other than to be sold in the future to investors.
           23
                 Moreover, as for the XRP that was already sold or otherwise distributed by Defendants, the vast
           24
                 majority, if not all, of it is not used for bridging international transactions, but for investment
           25
                 purpose. Accordingly, Defendants’ claims that XRP has a utilitarian purpose are false and were
           26
                 false when made. These claims also omitted material information regarding XRP’s lack of utility
           27
                 that was within exclusive or superior knowledge of Defendants. These claims are
           28
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             1
                 misrepresentations and omissions of material facts to investors because the utility of XRP (or lack
             2
                 thereof) is pertinent to the value of XRP. Simply stated, these false claims about XRP’s utility are
             3
                 nothing but an attempt to avoid the application of securities laws and drive demand for XRP.
             4
                                     Defendants Market XRP to Drive Demand and Increase Price
             5
                         50.        Given its reliance on sales of XRP, it is unsurprising that Ripple aggressively
             6
                 markets XRP to prospective purchasers, including Plaintiff, to drive demand, increase XRP’s
             7
                 price, and thus its own profits.
             8
                         51.        Ripple has an entire section of its website dedicated to providing advice on “How
             9
                 to Buy XRP.” This section provides links to exchanges and instructions on “how to buy XRP” on
           10
                 those exchanges. It also has a section titled “Market Performance” which proclaims that Ripple is
           11
                 “committed to the long term health and stability of XRP markets.”
           12
                         52.        Ripple also consistently promotes the availability of XRP on exchanges. For
           13
                 example, on May 18, 2017, Ripple’s Senior Vice-President of Business Development, Patrick
           14
                 Griffin, tweeted a link to the Kraken exchange with the caption: “Kraken Introduces New Fiat
           15
                 Pairs for XRP Trading! USD, JPY, CAD, EUR @Ripple.”
           16
                         53.        Similarly, on or about December 21, 2017, Ripple tweeted in Japanese that XRP
           17
                 was now available on over 50 exchanges. That tweet linked to an article on Ripple’s website
           18
                 which described XRP as “the fastest and most scalable [digital] asset on the market.” It
           19
                 continued, “[t]he market is taking notice of XRP’s speed, reliability and scalability — which has
           20
                 strengthened the demand for XRP and where it’s listed. In fact, we’re proud to announce that
           21
                 XRP has gone from being listed on six exchanges earlier this year to more than 50 worldwide.”
           22
                 The article also linked to a number of exchanges where XRP could be purchased, and stated that
           23
                 “XRP’s long-term value is determined by its utility—including its ability to help financial
           24
                 institutions source liquidity for payments into and out of emerging markets.”
           25
                         54.        Ripple’s representation that “XRP’s long-term value is determined by its utility—
           26
                 including its ability to help financial institutions source liquidity for payments into and out of
           27
                 emerging markets,” was misleading when made because demand for XRP from financial
           28
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             1
                 institutions did not represent a significant portion of the demand for XRP and little, if any, XRP
             2
                 was used to “help financial institutions source liquidity for payments into and out of emerging
             3
                 markets.” Ripple made this misleading representation to retail investors in order to drive demand
             4
                 for XRP. As explained above, the utility of XRP and its adoption (or lack thereof) are pertinent to
             5
                 the value of XRP and are thus material to investors. Defendants also omitted material information
             6
                 within their exclusive or superior knowledge regarding the utility of XRP and its adoption.
             7
                 Accordingly, this statement was a misrepresentation and omission of material fact to investors.
             8
                          55.        Ripple also hosts conferences to generate interest in XRP. For example, between
             9
                 October 16 and October 18, 2017, it hosted a conference named “Swell” in Toronto. Ripple
           10
                 acknowledged that “[a]nticipation around the event spurred a meaningful spike in XRP, pushing
           11
                 it up 100 percent . . .”
           12
                          56.        On that same day, CoinDesk, a subsidiary of Digital Currency Group, which has
           13
                 an ownership interest in Ripple, published an article titled, “Ripple Price Passes Historic $1
           14
                 Milestone.” This was just one of many instances in which Ripple would promote XRP price
           15
                 movements.
           16
                          57.        Ripple’s promotion of XRP’s price reached new highs in December 2017. In one
           17
                 instance, Ripple’s XRP product manager retweeted a tweet exclaiming: “Wow, XRP at all time
           18
                 high! Forget about bitcoin, we’re all in on XRP!” (emphasis added).
           19
                          58.        Ripple’s CEO, Brad Garlinghouse, has also been a vocal advocate for investing in
           20
                 XRP.
           21
                          59.        In a December 14, 2017 interview with BNN, when asked if he is personally
           22
                 invested in XRP, the CEO stated “I’m long XRP, I’m very, very long XRP as a percentage of my
           23
                 personal balance sheet.”34 He continued, stating that he is “not long on some of the other [digital]
           24
                 assets, because it is not clear to me what’s the real utility, what problem are they really solving.”
           25
                 He ended by reiterating, “if you’re solving a real problem, if it’s a scaled problem, then I think
           26
                 you have a huge opportunity to continue to grow that. We have been really fortunate obviously, I
           27
                 remain very, very, very long XRP, there is an expression in the industry HODL, instead of hold,
           28
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             1
                 it’s HODL . . . I’m on the HODL side.” (emphasis added). HODL is a cryptocurrency meme,
             2
                 meaning to hold an asset for long term gains.
             3
                         60.        Garlinghouse’s representation that he remained “very, very, very long XRP” and
             4
                 was “on the HODL side”—holding XRP for long term gains—was false when made as
             5
                 throughout 2017 Garlinghouse sold millions of XRP on various cryptocurrency exchanges.
             6
                 Review of the XRP ledger indicates that Garlinghouse sold at least 67 million XRP in 2017 and
             7
                 that he sold any XRP he received from Ripple within days of such receipt. Garlinghouse was not
             8
                 “long XRP” or holding for long term gains. Rather, he was dumping XRP on retail investors in
             9
                 exchange for dollars and other cryptocurrency. Defendants had exclusive or superior knowledge
           10
                 of material information regarding Garlinghouse’s XRP sales, but omitted it from their
           11
                 representations to investors. Had investors known the truth about Garlinghouse’s sales of XRP, it
           12
                 would have significantly altered the total mix of information made available to them.
           13
                 Accordingly, Garlinghouse’s statement was a misrepresentation and omission of material fact to
           14
                 investors.
           15
                         61.        Later that same day, Garlinghouse tweeted: “Bloomberg welcomes $XRP to
           16
                 @theterminal and gets it right - #2 market cap behind $BTC at ~$80BB!”
           17
                         62.        About a week later, on or about December 22, 2017, Garlinghouse tweeted an
           18
                 article titled, “Bitcoin Is So 2017 as Ripple Soars at Year End,” with the caption, “I’ll let the
           19
                 headline speak for itself. $xrp.”
           20
                         63.        On or about January 17, 2018, Garlinghouse tweeted a CNBC article titled,
           21
                 “Ripple is sitting on close to $80 billion and could cash out hundreds of millions per month – but
           22
                 it isn’t,” with the caption, “A good read on why fostering a healthy $XRP ecosystem is a top
           23
                 priority at @Ripple.”
           24
                         64.        However, the reality was that Ripple was doing exactly the opposite of what
           25
                 CNBC reported and sold—or “cashed out”—hundreds of millions of XRP tokens per month. As
           26
                 laid out in Section IV(B), Defendants issued and sold at least $167.7 million worth of XRP
           27
                 between January 1, 2018 and March 31, 2018. Based on the volume of XRP traded and the
           28
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             1
                 market price for XRP during this timeframe, it is likely that Ripple sold over one hundred million
             2
                 dollars’ worth of XRP during the month preceding January 17, 2018. Moreover, even if this
             3
                 statement were literally true, it was still misleading as it created the false impression that Ripple
             4
                 was not cashing out significant amounts of XRP. Significantly, this statement was
             5
                 unaccompanied by any qualifying language indicating that Ripple was selling tens of millions of
             6
                 dollars of XRP per month or hundreds of millions of dollars of XRP per quarter. Defendants had
             7
                 exclusive or superior knowledge of material information regarding Ripple’s XRP sales, but
             8
                 omitted it from their representations to investors. Had investors known the truth about Ripple’s
             9
                 sales of XRP, it would have significantly altered the total mix of information made available to
           10
                 them. Accordingly, this statement was a misrepresentation and omission of material fact to
           11
                 investors.
           12
                         65.        Recently, Defendants’ efforts to aggressively market and drive demand for XRP
           13
                 have bled into politics. In September 2018, Ripple and several other cryptocurrency companies
           14
                 with links to Ripple announced the founding of an advocacy group dubbed “Securing America’s
           15
                 Internet of Value Coalition.” The Coalition announced that it had retained the Klein/Johnson
           16
                 Group, a prominent Washington D.C. based lobbying firm, who is expected to help the Coalition
           17
                 in its efforts to lobby Congress and the SEC on issues critical to Ripple’s bottom-line, including
           18
                 whether XRP is a security subject to SEC regulation. For their expertise, the Klein/Johnson
           19
                 Group will receive $25,000 and 10,000 XRP tokens per month from the Coalition. Commenting
           20
                 on the decision to pay their lobbyists in XRP, Chris Larsen, explained: “It gives them some
           21
                 upside and gives them some risk . . . Hopefully it gives them a taste of the industry in a way that
           22
                 hits home.”
           23
                   Defendants Blur Differences Between Ripple’s Enterprise Solutions and XRP to Further
           24
                                                                           Drive Demand
           25
                         66.        Defendants’ advertising and social media postings also conflate adoption and use
           26
                 of Ripple Enterprise Solutions, such as xCurrent and xVia, with adoption and use of XRP, even
           27
                 though they often have little to no correlation. As one industry publication noted, most of
           28
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             1
                 Ripple’s product and partnership announcements “don’t have much to do with XRP.” Defendants
             2
                 conflate statements regarding their other financial products with statements regarding XRP in a
             3
                 calculated scheme to drive demand for XRP and thereby maximize profits from XRP sales.
             4
                         67.        According to the Ripple website, “xCurrent is Ripple’s enterprise software
             5
                 solution that enables banks to instantly settle cross-border payments with end-to-end tracking.
             6
                 Using xCurrent, banks message each other in real-time to confirm payment details prior to
             7
                 initiating the transaction and to confirm delivery once it settles.”
             8
                         68.        xCurrent does not operate on the same technology as XRP or even require the use
             9
                 of XRP. In short, there is no reason to believe that adoption of xCurrent would correlate in any
           10
                 way with adoption of XRP.
           11
                         69.        Nor does use of Ripple’s xVia product require adoption of XRP. Ripple states that
           12
                 its xVia product is “for corporates, payment providers and banks who want to send payments
           13
                 across various networks using a standard interface.”
           14
                         70.        Ripple nevertheless conflates the adoption of these Enterprise Solutions with
           15
                 adoption of XRP.
           16
                         71.        For example, on March 20, 2017, Ripple retweeted a Bloomberg article regarding
           17
                 adoption of Ripple Enterprise Solutions, proclaiming, “Ripple is the only company in this space
           18
                 with real customers who are really in production.”
           19
                         72.        The price of XRP increased rapidly following this tweet and on March 24, 2017,
           20
                 Ripple tweeted: “The price of #XRP continues to surge showing that people are looking for
           21
                 #bitcoin alternatives.”
           22
                         73.        On April 26, 2017, Ripple tweeted a link to an article on its own site, proclaiming:
           23
                 “#Ripple welcomes 10 additional customers to our #blockchain #payments network.” Neither
           24
                 this tweet nor the article it linked to informed readers that the blockchain payments network did
           25
                 not refer to the XRP Ledger, but rather Ripple’s xCurrent enterprise solution.
           26
                         74.        Just days later, on May 3, 2017, with the price of XRP continuing to rise, Ripple
           27
                 tweeted: “#Ripple adoption is sparking interest in XRP ‘which has had an impressive rally in the
           28
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             1
                 last two months’ via @Nasdaq.”
             2
                         75.        Ripple conflated the adoption of its Enterprise Solutions and XRP again on May
             3
                 16, 2017, tweeting: “The appeal that Ripple has towards traditional financial institutions is a big
             4
                 advantage it has over Bitcoin.”
             5
                         76.        On June 29, 2017, Ripple tweeted a clip of an interview its CEO Brad
             6
                 Garlinghouse gave on CNBC with the caption: “#XRP – up 4000% this year – has shown the
             7
                 market favors a real use case for #digitalassets . . .” In that interview, Garlinghouse proclaimed
             8
                 that “digital assets are in a position to be more valuable than gold,” and described XRP as
             9
                 “solving a real-world use case, it’s not just about speculators.”
           10
                         77.        On September 11, 2017, Garlinghouse stated in an interview with CNBC: “People
           11
                 are looking at the success Ripple has been having as a company, and I think that’s increased the
           12
                 value of XRP.” (emphasis added). He continued by stating that Ripple wanted “to keep focusing
           13
                 on making XRP a valuable payments tool, and that value will increase accordingly,” and he was
           14
                 “voting with [his] . . . pocketbook on the future increased value of cryptocurrencies.”
           15
                         78.        On November 27, 2017, Garlinghouse tweeted “Ripple & $XRP are giving
           16
                 businesses ‘what they want in a #blockchain,’” along with a link to a Motley Fool tweet. That
           17
                 Motley Fool tweet in turn stated that “AmEx and Banco Santander will use Ripple’s blockchain
           18
                 network for instant intl. fund transfers. Could be a big deal for Ripple’s XRP cryptocurrency.
           19
                 $AXP $SAN.” (emphasis added).
           20
                         79.        Similarly, on December 14, 2017 Ripple tweeted: “The Japan Bank Consortium
           21
                 launched a Ripple pilot with two large Korean banks – the first time money moves from Japan to
           22
                 Korea over Ripple Net.” The tweet also linked to an article on Ripple’s site. Buried inside that
           23
                 article is the fact that “RippleNet” refers to Ripple’s xCurrent enterprise solution, which does not
           24
                 require use of XRP. Nevertheless, earlier on that day, Ripple tweeted “@bgarlinghouse [its
           25
                 CEO’s twitter handle] on why crypto prices will be driven by real utility, the multi-trillion $
           26
                 problem @Ripple is solving and why $XRP will come out on top.”
           27
                         80.        Ripple would later acknowledge that “neither the AMEX news nor the Korean
           28
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             1
                 bank initiative involved XRP.”
             2
                         81.        Nevertheless, the December 14, 2017 Ripple tweet linked to a BNN interview with
             3
                 Mr. Garlinghouse, in which he said “the reason why XRP has performed so well this year, we’re
             4
                 solving a real problem, it’s a multi-trillion dollar problem around cross-border payments. There is
             5
                 a lot of friction it’s very slow it’s expensive, we’re working with the institutions to deal with that,
             6
                 so people have gotten excited. We now have over 100 customers we’ve announced publicly.”
             7
                         82.        Although few, if any of those 100 customers were using XRP, Garlinghouse
             8
                 continued, “at the end of the day the value of digital assets will be driven by their utility. If they
             9
                 are solving a real problem, and that problem has scale, and that problem, you know there is real
           10
                 value there, then there will be demand for the tokens and the price will go up. For XRP we have
           11
                 seen because it’s required, it’s something that can really reduce the friction, and we’re talking
           12
                 about a multi-trillion dollar problem in how cross-border payments flow. And so, I think if you
           13
                 drive real utility, yes there’s going to be demand for that.” “XRP is up 100x this year, and I think
           14
                 it’s because the problem we are solving people realize is a real problem, it’s a big problem.”
           15
                         83.        The statements in the above paragraphs falsely conflate adoption of Ripple
           16
                 Enterprise Solutions with adoption and use of XRP. These statements create an impression that
           17
                 adoption of Ripple Enterprise Solutions by financial institutions will drive demand for XRP and
           18
                 thereby allow investors to profit by holding XRP. Ripple and its CEO Garlinghouse repeatedly
           19
                 tied Ripple’s Enterprise Solutions customers with the proposition that “the value of digital assets
           20
                 will be driven by utility” and that the price of XRP was appreciating and would continue to
           21
                 appreciate because XRP was solving a real problem for those customers. However, few, if any, of
           22
                 those customers were actually using XRP. Defendants had exclusive or superior knowledge about
           23
                 use and utility of XRP (or lack thereof), but omitted this information from their representations to
           24
                 investors. Had investors known the truth, it would have significantly altered the total mix of
           25
                 information made available to them. Accordingly, these statements were misrepresentations and
           26
                 omissions of material facts to investors.
           27
                         84.        On January 4, 2018, following XRP’s rapid price increase, the New York Times
           28
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             1
                 published an article by Nathaniel Popper titled, “Rise of Bitcoin Competitor Ripple Creates
             2
                 Wealth to Rival Zuckerberg.” Mr. Popper tweeted a link to this article with the caption: “On the
             3
                 rise of Ripple. If this is a tulip fever, the fever has spread to chrysanthemums and poppies.”
             4
                           85.        He further commented, “I’ve asked several people close to banks if banks are
             5
                 indeed planning to begin using Ripple’s token, XRP, in a serious way, which is what investors
             6
                 seem to assume when they buy in at the current XRP prices. This is a sampling of what I heard
             7
                 back:
             8
                                      a. Actual use of XRP by banks is not something I’ve heard about, I find the run
             9
                                           up absolutely baffling, as do all the blockchain folks I know at large FIs.
           10
                                      b. XRP isn’t used for anything. The hope is that some day it will be by banks, but
           11
                                           there really aren’t banks signaling that yet.
           12
                                      c. I would be surprised if there have been any real bank to bank transactions done
           13
                                           with it (outside of maybe test transactions), despite people making claims to
           14
                                           the contrary.
           15
                                      d. It’s not clear to me why XRP would be used by banks at all. XRP could
           16
                                           potentially be adopted by consumers as a payment rail, although they don’t yet
           17
                                           have meaningful traction in that regard.
           18
                                      e. I haven’t seen a sufficiently large catalyst in the fundamentals of Ripple to
           19
                                           justify a greater than 10x move in the price of $XRP in the last month.
           20
                                      f. In a few years we’re going to look back on 2017 and think WTF were we
           21
                                           thinking.”
           22
                           86.        Ripple’s CEO Garlinghouse publicly responded to this, tweeting: “Over the last
           23
                 few months I’ve spoken with ACTUAL banks and payment providers. They are indeed planning
           24
                 to use xRapid (our XRP liquidity product) in a serious way. . .” He followed up stating, “I don’t
           25
                 think you want to hear about validation for XRP. The @NYTimes should be above spreading
           26
                 anonymous FUD.” FUD, which stands for fear, uncertainty, and doubt, is an expression
           27
                 frequently used among crypto-investors to deride or undermine criticism of an asset.
           28
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             1
                            87.        Ripple’s XRP product manager also attacked Mr. Popper, tweeting: “Do you think
             2
                 I left #Bitcoin and joined @Ripple to build bank software? Think again. $XRP.” This tweet
             3
                 linked to a Ripple’s tweet stating that “3 of the top 5 global money transfer companies plan to use
             4
                 XRP in payment flows in 2018. Even more in the pipeline.”
             5
                            88.        Despite publicly claiming that use of XRP by banks and financial institutions will
             6
                 drive demand for XRP, Defendants sell XRP primarily to retail investors, and not banks or
             7
                 financial institutions.
             8
                                                    Defendants Offer to Pay Exchanges to List XRP
             9
                            89.        Illustrative of Defendants’ attempts to promote XRP, in 2017, Ripple attempted to
           10
                 pay two U.S. cryptocurrency exchanges to list XRP to further drive demand for the token and to
           11
                 make XRP more easily available to a larger audience. Coinbase and Gemini provide the easiest
           12
                 ways for U.S.-customers to buy crypto-assets with U.S. dollars. There is thus a perception that
           13
                 being listed on one of these exchanges will accelerate demand for, and thus the price of, a crypto-
           14
                 asset.
           15
                            90.        A listing on Coinbase, in particular, is considered to be a crypto-asset’s golden
           16
                 ticket. This proved true when Coinbase listed Litecoin in August 2016 and Bitcoin Cash in
           17
                 December 2017. As an example, when Coinbase agreed to list Bitcoin Cash, its price increased
           18
                 from approximately $2,500 to approximately $3,400 just before Coinbase listed the asset. The
           19
                 price then briefly shot up to $9,500 upon Bitcoin Cash’s being listed on Coinbase before
           20
                 Coinbase temporarily halted trading.
           21
                            91.        Recognizing that getting its XRP listed on these exchanges could spur demand for
           22
                 XRP, and thereby allow it to maximize the profits it derives from XRP sales, Ripple offered to
           23
                 pay each of these exchanges to list XRP.
           24
                            92.        Bloomberg reported that “a Ripple executive asked whether a $1 million cash
           25
                 payment could persuade Gemini to list XRP in the third quarter” of 2017.
           26
                            93.        Ripple also “said it would be willing to lend [Coinbase] more than $100 million
           27
                 worth of XRP to start letting users trade the asset. . . .” Gemini and Coinbase both declined to
           28
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             1
                 pursue Ripple’s proposal at that time.
             2
                         94.        On November 29, 2017, Ripple posted a link to a change.org petition to “Get
             3
                 Ripple on Coinbase,” with the caption “[t]he community is mobilizing! [thumbs up emoji].”
             4
                 Ripple’s Senior Vice President of Business Development also tweeted a link to the petition.
             5
                         95.        Weeks later, on December 13, 2017, Ripple’s Senior Vice President of Business
             6
                 Development retweeted a tweet from Arrington XRP Capital (a hedge fund valued in XRP)
             7
                 stating: “It’s stunning that coinbase hasn’t added XRP yet.”
             8
                         96.        During this same late-2017 and early-2018 time period, rumors that XRP would be
             9
                 added to Coinbase fueled a massive price increase. Defendants were the source of these rumors.
           10
                               Ripple Publicly Limits the Supply of XRP to Drive Price Appreciation
           11
                         97.        In mid May 2017, Ripple publicly announced that it would limit distribution of the
           12
                 remaining 61.68 billion XRP owned by the company, from its original allotment of 80 billion
           13
                 XRP. Ripple stated that it would place 55 billion XRP in a cryptographically secured escrow
           14
                 account, and only offer and sell limited amounts of XRP at defined intervals. It established 55
           15
                 contracts of 1 billion XRP each that allowed it to sell up to 1 billion XRP per month, with any
           16
                 unsold XRP returned to escrow for use in subsequent offerings.
           17
                         98.        On or about May 16, 2017, Ripple’s CEO posted an article on its website, titled
           18
                 “Ripple to Place 55 Billion XRP in Escrow to Ensure Certainty of Total XRP Supply.” Ripple
           19
                 promoted this article in a tweet stating: “We’re placing 55B #XRP into a cryptographically
           20
                 secured escrow account to establish certainty around #XRP supply.”
           21
                         99.        In that article, Garlinghouse proclaimed, “Our goal in distributing XRP is to
           22
                 incentivize actions that build trust, utility and liquidity. We engage in distribution strategies that
           23
                 we expect will result in a strengthening XRP exchange rate against other currencies.” (emphasis
           24
                 added). He continued, noting that “we have heard concerns in the market about uncertainty
           25
                 surrounding our ongoing XRP distribution. The root of this uncertainty is the notion that Ripple
           26
                 might one day sell its 61.68B XRP in the market at any time – a scenario that would be bad for
           27
                 Ripple! Our self-interest is aligned with building and maintaining a healthy XRP market.”
           28
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             1
                         100.       He committed to remove “that uncertainty by committing to place 55 billion XRP
             2
                 into a cryptographically-secured escrow account,” which will allow investors to “mathematically
             3
                 verify the maximum supply of XRP that can enter the market.” He ended by stating that “XRP is
             4
                 the only digital asset with a clear use case . . . Designed for enterprise use, XRP can be used by
             5
                 financial institutions for on-demand liquidity for cross-border payments. Payment providers and
             6
                 banks using XRP will gain greater access to emerging markets and much lower settlement costs,
             7
                 and this is why we remain committed to increasing XRP liquidity and continued decentralization
             8
                 of its ledger.”
             9
                         101.       XRP’s price increased rapidly following this announcement, and Ripple’s “Q2
           10
                 2017 XRP Markets Report” listed the May 16, 2017 escrow announcement as “instrumental in
           11
                 helping to drive XRP interest and volume,” and noted that the “market responded favorably to the
           12
                 escrow” announcement.
           13
                         102.       On or about December 7, 2017, Ripple announced that it had followed through
           14
                 with its promise and placed “55 billion XRP in a cryptographically-secured escrow account to
           15
                 create certainty of XRP supply at any given time.”
           16
                         103.       It published an article detailing this escrow, which explained, “[b]y securing the
           17
                 lion’s share of XRP in escrow, people can now mathematically verify the maximum supply that
           18
                 can enter the market. While Ripple has proved to be a responsible steward of XRP supply for
           19
                 almost five years – and has clearly demonstrated a tremendous track record of investing in and
           20
                 supporting the XRP ecosystem – this lockup eliminates any concern that Ripple could flood the
           21
                 market, which we’ve pointed out before is a scenario that would be bad for Ripple!”
           22
                         104.       The article contained a button to allow readers to share it on Twitter with the
           23
                 caption, “Game changer for $XRP! 55 billion XRP now in escrow.” Ripple also promoted this
           24
                 article through its own tweet, which proclaimed: “55B $XRP is now in escrow. Interested in what
           25
                 this means for $XRP markets?”70 Ripple’s CEO was even more enthusiastic, tweeting: “Boom!
           26
                 55B $XRP now in escrow. Good for supply predictability and trusted, healthy $XRP markets.
           27
                 Glad to finally let this #cryptokitty out of the bag!”
           28
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             1
                         105.       Ripple’s public commitment to limit the supply of XRP had its intended effect. In
             2
                 the weeks that followed, the price of XRP exploded upwards, from approximately 25 cents on
             3
                 December 7, 2017 to $3.43 on January 3, 2018.
             4
                         106.       Ripple explains its escrow mechanism as follows:
             5
                                    a. The recently launched Escrow feature in XRP Ledger allows parties to secure
             6
                                         XRP for an allotted amount of time or until specific conditions are met. For
             7
                                         example, Escrow allows a sender of XRP to put conditions on exactly when a
             8
                                         payment can be completed, so the payment remains cryptographically locked
             9
                                         until the due date.
           10
                                    b. We’ll use Escrow to establish 55 contracts of 1 billion XRP each that will
           11
                                         expire on the first day of every month from months 0 to 54. As each contract
           12
                                         expires, the XRP will become available for Ripple’s use. You can expect us to
           13
                                         continue to use XRP for incentives to market makers who offer tighter spreads
           14
                                         for payments and selling XRP to institutional investors.
           15
                         107.       In other words, every month for 55 months, Ripple obtains from its cryptographic
           16
                 escrow access to a new block of 1 billion XRP, some or all of which it can sell—during that
           17
                 month only—in a separate offering. Any unsold XRP during any given month go into the back of
           18
                 the line in the Escrow to be available to Ripple to sell in separate offerings after the first 55
           19
                 months.
           20
                                                Defendants’ Maintain that XRP is Not a Security
           21
                         108.       Defendants made numerous statements to the public claiming that XRP is not a
           22
                 security to prop up demand and its value.
           23
                         109.       For example, on approximately April 11, 2018, Ripple’s Chief Market Strategist,
           24
                 Cory Johnson, told CNBC: “We absolutely are not a security. We don’t meet the standards for
           25
                 what a security is based on the history of court law.” Mr. Johnson also said, “Coinbase never ever
           26
                 raised the issue of whether or not XRP is a security in our discussions about listing XRP. We’re
           27
                 100 percent clear, it’s not a security. We don’t meet the standards.”
           28
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             1
                         110.       Ripple’s CEO Defendant Garlinghouse made similar comments, claiming XRP is
             2
                 not a security, to the public through a variety of avenues and media channels, including at the CB
             3
                 Insights Future of Fintech, live-streamed by Yahoo Finance.
             4
                                       Development Of The XRP Ledger And The Success of XRP
             5
                                                        Are Dependent On Defendants’ Efforts
             6
                         111.       The development of the XRP Ledger and the success of XRP are dependent on
             7
                 Defendants’ technical, entrepreneurial, and managerial efforts.
             8
                         112.       For example, in February 2017, Ripple promoted a deal with BitGo to build an
             9
                 enterprise wallet and treasury management platform for XRP.
           10
                         113.       Ripple also publishes a quarterly report detailing its efforts to grow the “XRP
           11
                 ecosystem.” In one of these reports, discussing its plan for “Q3 2017,” Ripple states that it “plans
           12
                 to focus on three areas of liquidity development as we drive XRP towards its natural position as
           13
                 the digital asset standard for international value transfer.” Ripple ends by saying, “[m]ost
           14
                 importantly, we are accelerating the pace of our investment in the XRP Ledger to build on its
           15
                 speed, uptime, and scalability, to ensure XRP is the most trusted enterprise-grade digital asset.”
           16
                 (emphases added).
           17
                         114.       Three months later, in describing its goals for the fourth quarter of 2017, Ripple
           18
                 proclaimed it would “continue to expand [its] xRapid partnerships.” It states that its “long-term
           19
                 goal is, and always has been, usage of XRP as a liquidity solution for more and more corridors,
           20
                 and partnerships are key to achieving this goal.”
           21
                         115.       In January 2018, Ripple touted “a partnership with MoneyGram—one of the
           22
                 world’s largest money transfer companies—to use xRapid and XRP for near real-time cross-
           23
                 border payments. In addition, there are a number of other xRapid deals at various stages of
           24
                 completion in the pipeline.” It also stated that it wanted “to build the necessary markets
           25
                 infrastructure for eventual direct usage of XRP by financial institutions.”
           26
                         116.       Ripple’s CEO commented on this partnership, stating: “And to be clear:
           27
                 @MoneyGram announcement is one step in a marathon ahead to truly make $XRP the global
           28
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             1
                 liquidity solution for payment providers and banks.”
             2
                           117.     Ripple has also used XRP to enter into partnerships intended to drive the adoption
             3
                 of XRP, and even structured these agreements so that their partner’s compensation is tied to
             4
                 appreciation of XRP—just as companies often do with shares to ensure that their interests are
             5
                 aligned. In early 2016, Ripple promised R3 Holdco, LLC (“R3”), an enterprise software firm with
             6
                 a network of banks and financial institutions, the option to purchase 5 billion XRP in exchange
             7
                 for R3 providing Ripple with access to R3’s consortium of member banks and financial
             8
                 institutions—thereby driving adoption of XRP.
             9
                           118.     When the price of XRP rose rapidly, Ripple repudiated the deal, which had
           10
                 provided R3 the option to purchase 5 billion XRP at $0.085 per XRP. Ripple claimed that R3 had
           11
                 failed to commercialize Ripple’s technology in connection with the use of XRP as the parties had
           12
                 agreed.
           13
                                                                      Ripple Updates XRP
           14
                           119.     Defendants, and Ripple in particular, are also entirely responsible for updating and
           15
                 maintaining the XRP Ledger.
           16
                           120.     Unlike cryptocurrencies such as Bitcoin and Ethereum, which use a Proof of Work
           17
                 (“PoW”) consensus mechanism to verify the legitimacy of transactions on the network, the XRP
           18
                 Ledger relies on trusted nodes operated by Ripple to verify the legitimacy of transactions and
           19
                 maintain agreement on the network. The PoW mechanism utilized by Bitcoin and Ethereum helps
           20
                 to ensure the network is decentralized by allowing anyone to use their own hardware and
           21
                 electricity to run the PoW consensus algorithm to verify transactions on the public ledger and
           22
                 send them to be recorded throughout the blockchain. The network’s decision-making process is
           23
                 thus placed entirely in the hands of those who run the consensus algorithm with their own
           24
                 hardware and electricity, rather than being centralized in any one entity or individual. Bitcoin
           25
                 currently has approximately 9,933 public nodes, while Ethereum has 18,266.
           26
                           121.     The XRP Ledger consensus protocol, on the other hand, relies almost entirely on
           27
                 “trusted nodes” on the Unique Node Lists (“UNL”). The UNL is the set of trusted nodes that
           28
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             1
                 communicate “reliable” information to other nodes on the XRP Ledger. Like miners in Bitcoin
             2
                 and Ethereum, these “trusted nodes” validate transactions. However, unlike those miners, the
             3
                 trusted nodes are either selected or controlled by Ripple itself. Ripple provides its own default
             4
                 and recommended UNL—currently comprised of only five Ripple-hosted nodes. Although Ripple
             5
                 claims it plans someday in the future to eventually decentralize the network, it admits that it will
             6
                 only remove its own “trusted nodes” if it decides that other validator nodes are reliable, reputable,
             7
                 stable, and secure.81 Ripple’s view of potential decentralization of the XRP Ledger still involves
             8
                 Ripple maintaining full control over the Ledger and deciding who owns and operates any third-
             9
                 party “trusted nodes.”
           10
                         122.       In January 2018, BitMex Research, a blockchain research group, installed and ran
           11
                 a copyofRippled,thesoftwarethatallowsuserstorunnodesontheXRPLedger. “Thenodeoperated by
           12
                 downloading a list of five public keys from the server v1.ripple.com.” “The software indicates
           13
                 that four of the five keys are required to support a proposal in order for it to be accepted [on the
           14
                 XRP Ledger].” However, “[a]ll five keys are assigned to Ripple.com.” BitMex Research
           15
                 concludes that “[s]ince the keys were all downloaded from the Ripple.com server, Ripple is
           16
                 essentially in complete control of moving the ledger forward, so one could say the system is
           17
                 centralized.” (emphasis added).
           18
                         123.       BitMex Research continues, “the Ripple system appears for all practical purposes
           19
                 to be centralized and is therefore perhaps devoid of any interesting technical characteristics, such
           20
                 as censorship resistance, which coins like Bitcoin may have. . . .”
           21
                         124.       Ripple is also constantly changing and seeking to improve the XRP network.
           22
                 These changes have decreased transaction times and improved system security, compatibility, use
           23
                 cases and other features of XRP. At the same time, Ripple has released new “white papers”
           24
                 touting these upgrades and proposed upgrades to the cryptocurrency and its exchange network.
           25
                 For example, Ripple released a white paper in February 2016 following a series of upgrades with
           26
                 the subtitle, “The ROI of Using Ripple and XRP for Global Interbank Settlements.” ROI stands
           27
                 for “return on investment,” and the paper discussed at length the purported value of using XRP,
           28
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             1
                 compared to other systems.
             2
                         125.       In May 2015, U.S. regulatory authorities fined Ripple and XRP II $700,000 for
             3
                 “willfully” violating the Bank Secrecy Act by selling XRP without obtaining the required
             4
                 authorization. The failure to properly register as a money services business, or “MSB,” exposed
             5
                 XRP for use by money launderers and criminals. As part of the settlement, Ripple and XRP II
             6
                 agreed to a number of remedial measures, including registration with FinCEN within 30 days of
             7
                 the agreement and to secure customer identification information within 180 days of the
             8
                 agreement. In the subsequent months, Ripple updated the XRP network and ecosystem to attempt
             9
                 to comply with the settlement agreement. In October 2015, Ripple underwent a rebranding after
           10
                 which it purported to fulfill its obligations under the settlement agreement.
           11
                         126.       Ripple’s own XRP product manager, Warren Paul Anderson, frequently markets
           12
                 the XRP Ledger’s dependence on Ripple’s continued commitment to it. For example. on
           13
                 December 14, 2016, he tweeted: “Thrilled to have the rippled team in town for a summit to
           14
                 discuss the future of @Ripple Consensus Ledger & XRP as a native digital asset!”84
           15
                 Approximately one year later, in December 2017, he retweeted his own tweet, saying, “It’s that
           16
                 time of year again, and what a year its been! #XRP Ledger (rippled) core developers in town
           17
                 @Ripple for a summit to discuss planning for 2018.”
           18
                         127.       Later that same day he posted a picture of Ripple engineers with the caption, “A
           19
                 great day of reflection & planning @Ripple w/ the greatest C++ engineering team in the world
           20
                 #XRP.”
           21
                         128.       On that same day, Ripple’s head of cryptography tweeted: “Today, all the $XRP
           22
                 Ledger developers at @Ripple are in SF to reflect on 2017 and plan for 2018.”
           23
                         129.       Later in the month, on December 29, 2017, a Ripple software engineer, Nik
           24
                 Bougalis, tweeted: “I’ve been working on code review for the last couple days. Excited to get
           25
                 rippled 0.90.0 out the door,” indicating that Ripple was working to release a new version of
           26
                 Rippled to further advance the XRP Ledger.
           27
                         130.       On January 9, 2018, Anderson tacitly admits that the XRP Ledger remains
           28
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             1
                 centralized, tweeting that the “[n]ew $XRP Ledger (rippled) 0.81.0 release gets us one-step closer
             2
                 to executing on our aforementioned decentralization strategy. . .”
             3
                         131.       Following, Ripple’s release of a Rippled upgrade, Bougalis tweeted, “[t]he C++
             4
                 team has released rippled 0.90.0. Cool new features: history sharding, deposit authorizations,
             5
                 checks and more!”90 When asked about Rippled, Bougalis continues, “[i]t’s the software one
             6
                 uses to run a server that connects to the XRP Ledger.”
             7
                         132.       On March 5, 2015, Bougalis similarly reposted a tweet defending investing in
             8
                 XRP by stating: “So you’d invest in Linux, not Microsoft. In UseNet, not Google. In MySQL, not
             9
                 Oracle. Good luck with your portfolio. Ripple is the next Google. You’re stuck in the silly idea
           10
                 that a company can’t build a digital asset, even when it does this right under your nose,” with the
           11
                 caption, “[n]ow that’s a mic drop, if I’ve ever seen one.” (emphasis added).
           12
                         133.       Ripple also owns and maintains the page at github.com/ripple/rippled, a Git
           13
                 repository used to update the XRP Ledger, and one location where Rippled can be downloaded.
           14
                         134.       Ripple also pays bounties to those who identify bugs in their software, stating that
           15
                 “we are very generous with the bug bounties we pay. Anyone that found and responsibly
           16
                 disclosed such a bug would get a significant reward.”
           17
                                                                        XRP Is A Security
           18
                         135.       The SEC Framework provides guidance for analyzing whether a digital asset has
           19
                 the of one particular type of security—an “investment contract.”
           20
                         136.       As explained in the SEC Framework:
           21
                                    a. The U.S. Supreme Court’s Howey case and subsequent case law have found
           22
                                         that an “investment contract” exists when there is the investment of money in a
           23
                                         common enterprise with a reasonable expectation of profits to be derived from
           24
                                         the efforts of others. The so-called “Howey test” applies to any contract,
           25
                                         scheme, or transaction, regardless of whether it has any of the characteristics of
           26
                                         typical securities. The focus of the Howey analysis is not only on the form and
           27
                                         terms of the instrument itself (in this case, the digital asset) but also on the
           28
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             1
                                         circumstances surrounding the digital asset and the manner in which it is
             2
                                         offered, sold, or resold (which includes secondary market sales). Therefore,
             3
                                         issuers and other persons and entities engaged in the marketing, offer, sale,
             4
                                         resale, or distribution of any digital asset will need to analyze the relevant
             5
                                         transactions to determine if the federal securities laws apply.
             6
                         137.       The SEC Framework makes clear that “[w]hether a particular digital asset at the
             7
                 time sale satisfies the Howey test depends on the specific facts and circumstances.” The specific
             8
                 facts and circumstances relating to XRP support the conclusion that XRP is a security under the
             9
                 Howey test.
           10
                         138.       Purchasers who bought XRP have invested money or given valuable services to a
           11
                 common enterprise, Defendants. These purchasers have had a reasonable expectation of profit
           12
                 based upon the efforts of the promoter, Ripple, including, amongst other things, (i) Ripple’s
           13
                 CEO’s admission that “To build XRP liquidity, we have been mindful over the years about how
           14
                 we distribute XRP. . . . We engage in distribution strategies that we expect will result in a
           15
                 strengthening XRP exchange rate against other currencies,” (ii) that Ripple’s home page
           16
                 maintains metrics on the market performance of XRP and a link to buy XRP on numerous
           17
                 exchanges, (iii) Ripple’s leadership in the development of the platform, partnering with firms to
           18
                 use the network and influencing significant control over which nodes can validate transactions,
           19
                 and (iv) the release of new white papers for the payment network, all of which contributes to the
           20
                 value of XRP.
           21
                            XRP Purchasers Made an Investment of Money in A Common Enterprise
           22
                         139.       The SEC Framework states that, “The first prong of the Howey test is typically
           23
                 satisfied in an offer and sale of a digital asset because the digital asset is purchased or otherwise
           24
                 acquired in exchange for value, whether in the form of real (or fiat) currency, another digital
           25
                 asset, or other type of consideration.”
           26
                         140.       Plaintiff invested fiat and other digital currencies, such as Bitcoin and Ethereum,
           27
                 to purchase XRP. As explained in the SEC Framework, investment of both fiat and digital
           28
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             1
                 currency meets the first prong of Howey.
             2
                         141.       Defendants concede that they sell XRP tokens to the general public through
             3
                 cryptocurrency exchanges starting on May 18, 2017.
             4
                         142.       The profits of each investor in XRP are inextricably intertwined with those of all
             5
                 other purchasers because XRP is fungible. As Defendants note, it can be bought or sold on over
             6
                 50 exchanges.
             7
                         143.       The SEC Framework states that “[i]n evaluating digital assets, we have found that
             8
                 a ‘common enterprise’ typically exists.”95 The SEC Framework also elaborates: “Based on our
             9
                 experiences to date, investments in digital assets have constituted investments in a common
           10
                 enterprise because the fortunes of digital asset purchasers have been linked to each other or to the
           11
                 success of the promoter’s efforts.”
           12
                         144.       XRP is no exception to the SEC Framework’s observation regarding the “common
           13
                 enterprise” element of the Howey test. The prospective profits of Plaintiff, if any, are intertwined
           14
                 with the fortunes of Ripple. Ripple concedes that it “sells XRP to fund its operations and promote
           15
                 the network. This allows Ripple to have a spectacularly skilled team to develop and promote the
           16
                 Ripple protocol and network.”
           17
                         145.       Ripple’s CEO has conceded that, “Our self-interest is aligned with building and
           18
                 maintaining a healthy XRP market.”
           19
                         146.       As further explained in Section IV(E), the price of XRP is dependent on
           20
                 development and adoption of the XRP Ledger, which in turn is dependent upon the efforts of
           21
                 Defendants and their employees or agents.
           22
                       Defendants Led Investors to Reasonably Expect a Profit from Their Investment
           23
                         147.       With respect to the element of “reasonable expectation of profits,” the SEC
           24
                 Framework states that “[a] purchaser may expect to realize a return through participating in
           25
                 distributions or through other methods of realizing appreciation on the asset, such as selling at a
           26
                 gain in a secondary market.”
           27
                         148.       Investors in XRP, including Plaintiff, made their investment with a reasonable
           28
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             1
                 expectation of profits.
             2
                         149.       Defendants themselves have recognized that XRP investors have a reasonable
             3
                 expectation of profit, and publicly touted XRP’s price performance on numerous occasions.
             4
                 Ripple’s website even contains an “XRP Buying Guide” that provides links to exchanges and
             5
                 instructions on “how to buy XRP” on those exchanges.
             6
                         150.       Ripple’s CEO has publicly touted that he himself is “very, very, very long XRP,”
             7
                 and criticized journalists who suggest that enterprise adoption of XRP may not be as high as
             8
                 Ripple indicates.
             9
                         151.       Ripple also directly controls the inflation rate of XRP, going so far as to lock more
           10
                 than half the supply of XRP in escrow to provide “supply predictability and trusted, healthy
           11
                 $XRP markets.” This announcement had its intended effect, driving the price of XRP rapidly
           12
                 upwards.
           13
                         152.       Defendants also pooled XRP investments to fund projects that would promote “the
           14
                 XRP Ledger and Interledger Protocol,” thereby increasing the value of the XRP Ledger and XRP.
           15
                         153.       For example, on April 11, 2018, Ripple announced that it “had invested $25
           16
                 million in XRP to Blockchain Capital Parallel IV, LP” to “support and develop additional [XRP]
           17
                 use cases beyond payments.” Ripple’s Senior Vice President of Business Development promoted
           18
                 this investment, tweeting, “Ripple’s $25 million investment in @blockchaincap’s new fund is the
           19
                 first and not the last contribution to ventures that further develop the #blockchain and $XRP
           20
                 ecosystems.”
           21
                         154.       The SEC Framework lays out a number of characteristics informative of whether
           22
                 the “reasonable expectation of profits” element is met. The SEC Framework states that “[t]he
           23
                 more the following characteristics are present, the more likely it is that there is a reasonable
           24
                 expectation of profit.” Based on the facts above, each and every characteristic identified by the
           25
                 SEC Framework is present in the case of XRP:
           26
                                    a. The digital asset gives the holder rights to share in the enterprise’s income or
           27
                                         profits or to realize gain from capital appreciation of the digital asset.
           28
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             1
                                b. The opportunity may result from appreciation in the value of the digital asset
             2
                                     that comes, at least in part, from the operation, promotion, improvement, or
             3
                                     other positive developments in the network, particularly if there is a secondary
             4
                                     trading market that enables digital asset holders to resell their digital assets and
             5
                                     realize gains.
             6
                                c. The digital asset is transferable or traded on or through a secondary market or
             7
                                     platform, or is expected to be in the future. Purchasers reasonably would
             8
                                     expect that [the Defendants’] efforts will result in capital appreciation of the
             9
                                     digital asset and therefore be able to earn a return on their purchase.
           10
                                d. The digital asset is offered broadly to potential purchasers as compared to
           11
                                     being targeted to expected users of the goods or services or those who have a
           12
                                     need for the functionality of the network. The digital asset is offered and
           13
                                     purchased in quantities indicative of investment intent instead of quantities
           14
                                     indicative of a user of the network. For example, it is offered and purchased in
           15
                                     quantities significantly greater than any likely user would reasonably need, or
           16
                                     so small as to make actual use of the asset in the network impractical.
           17
                                e. There is little apparent correlation between the purchase/offering price of the
           18
                                     digital asset and the market price of the particular goods or services that can be
           19
                                     acquired in exchange for the digital asset. There is little apparent correlation
           20
                                     between quantities the digital asset typically trades in (or the amounts that
           21
                                     purchasers typically purchase) and the amount of the underlying goods or
           22
                                     services a typical consumer would purchase for use or consumption.
           23
                                f. The [Defendants have] raised an amount of funds in excess of what may be
           24
                                     needed to establish a functional network or digital asset. The [Defendants are]
           25
                                     able to benefit from [their] efforts as a result of holding the same class of
           26
                                     digital assets as those being distributed to the public.
           27
                                g. The [Defendants] continue[] to expend funds from proceeds or operations to
           28
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             1
                                     enhance the functionality or value of the network or digital asset.
             2
                                h. The digital asset is marketed, directly or indirectly, using any of the following:
             3
                                            i. The expertise of [Defendants] or [their] ability to build or grow the
             4
                                                 value of the network or digital asset.
             5
                                           ii. The digital asset is marketed in terms that indicate it is an investment or
             6
                                                 that the solicited holders are investors.
             7
                                          iii. The intended use of the proceeds from the sale of the digital asset is to
             8
                                                 develop the network or digital asset.
             9
                                          iv. The future (and not present) functionality of the network or digital
           10
                                                 asset, and the prospect that [the Defendants] will deliver that
           11
                                                 functionality.
           12
                                           v. The promise (implied or explicit) to build a business or operation as
           13
                                                 opposed to delivering currently available goods or services for use on
           14
                                                 an existing network.
           15
                                          vi. The ready transferability of the digital asset is a key selling feature.
           16
                                         vii. The potential profitability of the operations of the network, or the
           17
                                                 potential appreciation in the value of the digital asset, is emphasized in
           18
                                                 marketing or other promotional materials.
           19
                                        viii. The availability of a market for the trading of the digital asset,
           20
                                                 particularly where the [Defendants] implicitly or explicitly promises to
           21
                                                 create or otherwise support a trading market for the digital asset.
           22
                                    The Success of XRP Requires Efforts of Ripple and Others
           23
                     155.       The SEC Framework explains:
           24
                                “When a promoter, sponsor, or other third party (or affiliated group of third
           25
                                parties) (each, an “Active Participant” or “AP”) provides essential managerial
           26
                                efforts that affect the success of the enterprise, and investors reasonably expect to
           27
                                derive profit from those efforts, then this prong of the test is met. Relevant to this
           28
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             1
                                    inquiry is the “economic reality” of the transaction and “what character the
             2
                                    instrument is given in commerce by the terms of the offer, the plan of distribution,
             3
                                    and the economic inducements held out to the prospect.” The inquiry, therefore, is
             4
                                    an objective one, focused on the transaction itself and the manner in which the
             5
                                    digital asset is offered and sold.”
             6
                         156.       Specifically, with respect to the element of “reliance on the efforts of others,” the
             7
                 SEC Framework states:
             8
                                    The inquiry into whether a purchaser is relying on the efforts of others focuses on
             9
                                    two key issues:
           10
                                         Does the purchaser reasonably expect to rely on the efforts of a [promoter]?
           11
                                         Are those efforts “the undeniably significant ones, those essential managerial
           12
                                         efforts which affect the failure or success of the enterprise,” as opposed to
           13
                                         efforts that are more ministerial in nature?
           14
                         157.       Plaintiff and all other retail Ripple investors have entirely passive role vis-à-vis the
           15
                 success of the XRP Ledger and XRP. Rather, as Defendants’ own marketing makes clear, the
           16
                 success of the XRP Ledger, and the profits Plaintiff reasonably expected to derive from investing
           17
                 in XRP, are dependent on the essential technical, entrepreneurial, and managerial efforts of
           18
                 Defendants and their agents and employees.
           19
                         158.       The majority of XRP are tradeable in the market. All investors in XRP will profit
           20
                 equally if the popularity and price of XRP increase, and, other than with respect to the discount
           21
                 on the price paid, no investor will be entitled to a higher proportion of price increases.
           22
                         159.       Plaintiff and all other retail Ripple investors reasonably expected Defendants to
           23
                 provide significant managerial efforts, to develop and improve the XRP Ledger, to develop and
           24
                 sustain a supportive network, and to secure exchanges through which XRP can be traded or
           25
                 liquidated. Defendants repeatedly represented that they would provide significant managerial
           26
                 efforts to achieve these objectives and make the XRP Ledger a success.
           27
                         160.       Ripple created the XRP Ledger and all 100 billion XRP in circulation, and
           28
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             1
                 concedes that it “sells XRP to fund its operations and promote the network,” in order “to have a
             2
                 spectacularly skilled team to develop and promote the Ripple protocol and network.” And as of
             3
                 April 22, 2018, Ripple still holds at least 60.83 billion XRP—more than 60 percent of the XRP in
             4
                 circulation.
             5
                         161.       Although it now claims that it “didn’t create XRP; 100 billion XRP was created
             6
                 before the company was formed,” Ripple previously admitted that it “is the creator of Ripple.”
             7
                 “We developed the protocol and its distributed payment network, and we now work to support
             8
                 and promote its growth.” It acknowledged that “Ripple hopes to make money from XRP if the
             9
                 world finds the Ripple network useful and broadly adopts the protocol.” Ripple further
           10
                 acknowledged that it “will retain a portion [of XRP] with the hope of creating a robust and liquid
           11
                 marketplace in order to monetize its only asset sometime in the future.” (emphasis added).
           12
                         162.       Ripple touts its control over the XRP Ledger as an advantage for XRP, contending
           13
                 that governance "may be where XRP most significant distinguishes itself [from Bitcoin,
           14
                 Ethereum, and Litecoin] going forward.” “Building pivotal infrastructure on top of technology
           15
                 that does not have clear governance is not palatable for large established companies.”
           16
                         163.       Ripple also exercises near complete control over the XRP Ledger itself. XRP
           17
                 Ledger bnodes operate “by downloading a list of five public keys from the server v1.ripple.com.”
           18
                 “The software indicates that four of the five keys are required to support a proposal in order for it
           19
                 to be accepted [on the XRP Ledger].” However, “[a]ll five keys are assigned to Ripple.com.”
           20
                 “Since the keys were all downloaded from the Ripple.com server, Ripple is essentially in
           21
                 complete control of moving the ledger forward, so one could say the system is centralized.”
           22
                 (emphasis added). “[T]he Ripple system appears for all practical purposes to be centralized and is
           23
                 therefore perhaps devoid of any interesting technical characteristics, such as censorship
           24
                 resistance, which coins like Bitcoin may have…”
           25
                         164.       Ripple and its CEO have acknowledged that the value of XRP will be driven by
           26
                 the XRP Ledger’s usefulness in solving cross-border payments and its adoption by enterprises.
           27
                 Defendants have similarly touted adoption of Ripple’s Enterprise Solutions, even when those
           28
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             1
                 Enterprise Solutions do not actually utilize XRP.
             2
                         165.       Ripple’s CTO, David Schwartz, has similarly acknowledged that the “biggest
             3
                 risks” to the price of XRP are:
             4
                                    a. “Someone else does almost exactly the same thing Ripple does, but does it
             5
                                         better. This is mitigated by the fact that Ripple has such talented people and
             6
                                         has a lead. But you never know.”
             7
                                    b. “Unfavorable regulatory changes make Ripple’s business model impractical.
             8
                                         Perhaps some regulators deem XRP to be a security and therefore only salable
             9
                                         to sophisticated investors or something like that. This is mitigated by the fact
           10
                                         that Ripple can target friendlier jurisdictions, but losing big ones would be
           11
                                         damaging.”
           12
                                    c. “Some serious technical problem is found in the XRP ledger system and
           13
                                         neither Ripple nor anyone else is able to fix it.”
           14
                                    d. “Some horrible personal or business scandal affects key Ripple people such as
           15
                                         Chris Larsen or Brad Garlinghouse or the company itself and the company
           16
                                         becomes too toxic for FIs [financial institutions] to do business with.”
           17
                                    e. “Someone comes up with a better way to bridge international payments than
           18
                                         using a digital asset and Ripple is unable to position XRP for another use case
           19
                                         and abandons XRP.”
           20
                         166.       XRP therefore derives its value from the usefulness and popularity of the XRP
           21
                 Ledger, which is in turn highly dependent on the significant technical, entrepreneurial, and
           22
                 managerial efforts of Defendants. The purchase of XRP is thus an investment in a common
           23
                 enterprise, with an expectation of profits, based upon the efforts of its promoter, the Defendants.
           24
                         167.       The SEC Framework lays out a number of characteristics informative of whether
           25
                 the “reliance on the efforts of others” element is met. The SEC Framework notes that “although
           26
                 no one of the following characteristics is necessarily determinative, the stronger their presence,
           27
                 the more likely it is that a purchaser of a digital asset is relying on the ‘efforts of others.’” Based
           28
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             1
                 on the facts above, each and every characteristic identified by the SEC Framework is present in
             2
                 the case of XRP:
             3
                                    a. Defendants are “responsible for the development, improvement (or
             4
                                         enhancement), operation, or promotion of the network” and “purchasers of
             5
                                         the digital asset expect [Defendants] to be performing or overseeing tasks that
             6
                                         are necessary for the network or digital asset to achieve or retain its intended
             7
                                         purpose or functionality.”
             8
                                    b. “Where the network or the digital asset is still in development and the network
             9
                                         or digital asset is not fully functional at the time of the offer or sale”—both
           10
                                         true of the XRP Ledger— “purchasers would reasonably expect [Defendants]
           11
                                         to further develop the functionality of the network or digital asset (directly or
           12
                                         indirectly).” “This particularly would be the case where an AP promises
           13
                                         further developmental efforts in order for the digital asset to attain or grow in
           14
                                         value,” as is true with Ripple.
           15
                                    c. “There are essential tasks or responsibilities performed and expected to be
           16
                                         performed by [Defendants], rather than an unaffiliated, dispersed community
           17
                                         of network users (commonly known as a ‘decentralized’ network).”
           18
                                    d. Defendants “create[] or support[] a market for, or the price of, the digital asset.
           19
                                         This can include, for example, an AP that: (1) controls the creation and
           20
                                         issuance of the digital asset; or (2) takes other actions to support a market price
           21
                                         of the digital asset, such as by limiting supply or ensuring scarcity, through, for
           22
                                         example, buybacks, ‘burning,’ or other activities.” Defendants have “a lead or
           23
                                         central role in the direction of the ongoing development of the network or the
           24
                                         digital asset. In particular, [Defendants] play[] a lead or central role in deciding
           25
                                         governance issues, code updates, or how third parties participate in the
           26
                                         validation of transactions that occur with respect to the digital asset.”
           27
                                    e. Defendants have “a continuing managerial role in making decisions about or
           28
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             1
                                     exercising judgment concerning the network or the characteristics or rights the
             2
                                     digital asset represents including:
             3
                                            i. Determining whether and how to compensate persons providing
             4
                                                 services to the network or to the entity or entities charged with
             5
                                                 oversight of the network.
             6
                                           ii. Determining whether and where the digital asset will trade. For
             7
                                                 example, purchasers may reasonably rely on [Defendants] for liquidity,
             8
                                                 such as where the [Defendants have] arranged, or promised to arrange
             9
                                                 for, the trading of the digital asset on a secondary market or platform.
           10
                                          iii. Determining who will receive additional digital assets and under what
           11
                                                 conditions.
           12
                                          iv. Making or contributing to managerial level business decisions, such as
           13
                                                 how to deploy funds raised from sales of the digital asset.
           14
                                           v. Playing a leading role in the validation or confirmation of transactions
           15
                                                 on the network, or in some other way having responsibility for the
           16
                                                 ongoing security of the network.
           17
                                          vi. Making other managerial judgments or decisions that will directly or
           18
                                                 indirectly impact the success of the network or the value of the digital
           19
                                                 asset generally.”
           20
                                f. “Purchasers would reasonably expect [Defendants] to undertake efforts to
           21
                                     promote its own interests and enhance the value of the network or digital asset,
           22
                                     such as where:”
           23
                                            i. Defendantshave“theabilitytorealizecapitalappreciationfromthevalueofth
           24
                                                 edigital asset. This can be demonstrated, for example, if the
           25
                                                 [Defendants] retain[] a stake or interest in the digital asset. In these
           26
                                                 instances, purchasers would reasonably expect [Defendants] to
           27
                                                 undertake efforts to promote its own interests and enhance the value of
           28
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             1
                                                     the network or digital asset.”
             2
                                               ii. Defendants “distribute the digital asset as compensation to management
             3
                                                     or [Defendants’] compensation is tied to the price of the digital asset in
             4
                                                     the secondary market. To the extent these facts are present, the
             5
                                                     compensated individuals can be expected to take steps to build the
             6
                                                     value of the digital asset.”
             7
                                              iii. Defendants “own[] or control[] ownership of intellectual property
             8
                                                     rights of the network or digital asset, directly or indirectly.”
             9
                                              iv. Defendants “monetize[] the value of the digital asset, especially where
           10
                                                     the digital asset has limited functionality.”
           11
           12                                         XRP is a Security Under California Law

           13            168.       California’s definition of a “security” in Corp. Code § 25019 was modeled after

           14    Section 2(a)(1) of the Securities Act of 1933, and includes some 23 instruments meeting the

           15    definition, such as “any note; stock; treasury stock; . . . certificate of interest or participation in

           16    any profit-sharing agreement; . . . transferable share; [and] investment contract. . . .” Court

           17    decisions interpreting the scope of the definition of a “security” under the Securities Act of 1933

           18    are persuasive authority under the California statute, and courts have interpreted the term

           19    “security” to be synonymous in scope with the term “investment contract” in federal securities

           20    law cases. See 1 Marsh & Volk, PRACTICE UNDER THE CALIFORNIA CORPORATE

           21    SECURITIES LAWS § 5.19[1][b], [d] (2019).

           22            169.       In addition to meeting the definition of a “security” under the SEC Framework and

           23    the federal Howey test, XRP also satisfies the four elements of the “risk capital test” as articulated

           24    by the California Supreme Court in Silver Hills Country Club v. Sobieski, 55 Cal. 2d 811, 815

           25    (1961) (“Silver Hills”) to qualify as a “security” under California law.

           26            170.       California courts have held that that both the Silver Hills and Howey tests may be

           27    applied, either separately or together, to determine whether a transaction is a security under

           28    California law—in other words, a transaction is a security if it satisfies either test. People v.
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             1
                 Black, 8 Cal. App. 5th 889, 900 (2007) (holding that California “proceed[s] under the framework
             2
                 of both tests, either separately or together”); Consol. Mgmt. Grp., LLC v. Dep’t of Corporations,
             3
                 162 Cal. App. 4th 598, 610 (2008) (same); People v. Schock, 152 Cal. App. 3d 379 (1984) (both
             4
                 tests applied, and transaction held to be a security under federal test); People v. Smith, 215 Cal.
             5
                 App. 3d 230, 237 (while California courts often use the risk capital test for defining a security, it
             6
                 is “a general test, and is not applicable in all situations. Federal definitions of securities are also
             7
                 used in California when appropriate in determining whether an investment vehicle is a security. . .
             8
                 .”).
             9
                          171.       In this case, Defendants attempted to raise funds for a business venture or
           10
                 enterprise— Ripple and the development of the XRP Ledger—through the sale of XRP to the
           11
                 general public through various cryptocurrency exchanges starting on May 18, 2017.
           12
                          172.       Because XRP is available on cryptocurrency exchanges, Defendants’ numerous
           13
                 issuances of XRP are indiscriminate offerings to the public at large where the persons or investors
           14
                 being solicited are selected at random, rather than specifically or individually targeted.
           15
                          173.       As investors in XRP, Plaintiff and all other retail Ripple investors who purchased
           16
                 XRP maintain a passive position vis-à-vis the success of XRP and the XRP Ledger in that they
           17
                 are substantially powerless to affect the success of the enterprise. Any money Plaintiff and all
           18
                 other retail Ripple investors invested in XRP is also substantially at risk because it is inadequately
           19
                 secured.
           20
                          174.       This is because, as Defendants’ own marketing makes clear, the success of the
           21
                 XRP Ledger, and the profits Plaintiff and all other retail Ripple investors reasonably expected to
           22
                 derive from investing in XRP, are dependent on the conduct of Defendants and their agents and
           23
                 employees.
           24
           25
           26
           27
           28
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             1
                                                                          CONCLUSION
             2
                         175.       Defendants failed to file a registration statement even though they cannot claim
             3
                 any exemption to the registration requirements of the Securities Act. The exemptions for private
             4
                 offerings do not apply to XRP because, among other things, starting on May 18, 2017,
             5
                 Defendants have been offering XRP to the U.S. general public. In addition, the Regulation S
             6
                 safe harbors do not apply to XRP because the offer or sale of the XRP was not made in an
             7
                 “offshore transaction” and further because “directed selling efforts” were made by Defendants in
             8
                 the United States.
             9
                         176.       Because a registration statement is filed, the sale of XRP by Defendants violated
           10
                 the federal and California securities laws.
           11
                         177.       Defendants’ prior, current and future unregistered offers and sales of XRP are in
           12
                 violation of Section 5(a) and (c) of the Securities Act.
           13
                                                         COUNT I
           14       Unregistered Offer and Sale of Securities in Violation of Sections 5 and 12(a)(1) of the
           15                                          Securities Act
                                                  (Against All Defendants)
           16
                         178.       Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-178 above as
           17
                 if fully set forth herein.
           18
                         179.       Defendants, and each of them, made use of means or instruments of transportation
           19
                 or communication in interstate commerce or of the mails, to offer to sell or to sell securities, or to
           20
                 carry or cause such securities to be carried through the mails or in interstate commerce for the
           21
                 purpose of sale or for delivery after sale.
           22
                         180.       XRP are securities within the meaning of Section 2(a)(1) of the Securities Act, 15
           23
                 U.S.C. § 77b(a)(1).
           24
                         181.       Plaintiff and all other retail Ripple investors purchased XRP securities from
           25
                 Defendants.
           26
                         182.       No registration statements have been filed with the SEC or have been in effect
           27
                 with respect to any of the offerings alleged herein.
           28
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             1
                         183.       By reason of the foregoing, each of the Defendants have violated Sections 5(a),
             2
                 5(c), and 12(a) of the Securities Act, 15 U.S.C. §§ 77e(a), 77e(c), and 77l(a).
             3
                         184.       As a direct and proximate result of Defendants’ unregistered sale of securities,
             4
                 Plaintiff has suffered damages in connection with its respective purchases of XRP securities.
             5
                                                                     COUNT II
             6                                      Violation of Section 15 of the Securities Act
             7                                          (Against Ripple and Garlinghouse)
                         185.       Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-185 above as
             8
                 if fully set forth herein.
             9
                         186.       This Count is against Defendants Ripple Labs, Inc. and Garlinghouse.
           10
                         187.       Defendants Ripple and Garlinghouse, by virtue of their offices, stock ownership,
           11
                 agency, agreements or understandings, and specific acts were, at the time of the wrongs alleged
           12
                 herein, and as set forth herein, controlling persons within the meaning of Section 15 of the
           13
                 Securities Act. Defendants Ripple and Garlinghouse, and each of them, had the power and
           14
                 influence and exercised the same to cause the unlawful offer and sale of XRP securities as
           15
                 described herein.
           16
                         188.       Defendants Ripple and Garlinghouse, separately or together, possess, directly or
           17
                 indirectly, the power to direct or cause the direction of the management and policies of XRP II,
           18
                 through ownership of voting securities, by contract, subscription agreement, or otherwise.
           19
                         189.       Defendant Garlinghouse also has the power to direct or cause the direction of the
           20
                 management and policies of Ripple.
           21
                         190.       Defendants Ripple and Garlinghouse, separately or together, have sufficient
           22
                 influence to have caused XRP II and/or Ripple to submit a registration statement.
           23
                         191.       Defendants Ripple and Garlinghouse, separately or together, jointly participated
           24
                 in, and/or aided and abetted, XRP II and/or Ripple’s failure to register XRP.
           25
                         192.       By virtue of the conduct alleged herein, Defendants Ripple and Garlinghouse are
           26
                 liable for the wrongful conduct complained of herein and are liable to Plaintiff for rescission
           27
                 and/or damages suffered.
           28
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             1
                                                         COUNT III
             2      Unregistered Offer and Sale of Securities in Violation of California Corporations Code
             3                                     Section 25110 and 25503
                                                  (Against All Defendants)
             4
                         193.       Plaintiff BMA incorporates the allegations set forth in Paragraphs 193 above as if
             5
                 fully set forth herein.
             6
                         194.       XRP are securities within the meaning of the California Corporations Code.
             7
                         195.       Defendants, and each of them, by engaging in the conduct described above within
             8
                 California, directly or indirectly, sold and offered to sell securities.
             9
                         196.       Plaintiff purchased XRP securities from Defendants.
           10
                         197.       No registration statements have been filed with any state or federal government
           11
                 entity or have been in effect with respect to any of the offerings alleged herein.
           12
                         198.       By reason of the foregoing, each of the Defendants has violated Sections 25110
           13
                 and 25503 of the California Corporations Code.
           14
                         199.       As a direct and proximate result of Defendants’ unregistered sale of securities,
           15
                 Plaintiff has suffered damages in connection with their respective purchases of XRP securities.
           16                                               COUNT IV
                                  Violation of Section 25401 of the California Corporations Code
           17                                         (Against All Defendants)
           18            200.       Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-200 above as
           19    if fully set forth herein.
           20            201.       This Count is asserted against Defendants Ripple Labs, Inc. and XRP II, LLC for

           21    violation of Section 25401 of the California Corporations Code.
           22            202.       The Count is asserted against Defendants Ripple Labs, Inc. and Garlinghouse
           23    because they materially assist, and/or aid and abet, in the violation of Section 25401, with intent
           24    to deceive or defraud, pursuant to Section 25504.1.
           25            203.       California Corporations Code section 25401 makes it illegal to “offer or sell a
           26    security in this state . . . by means of any written or oral communications which includes an
           27    untrue statement of a material fact or omits to state a material fact necessary in order to make the
           28    statements made . . . not misleading.”
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             1
                         204.       Defendants were, at the time of the wrongs alleged herein, and as set forth herein,
             2
                 “persons” within the meaning of Section 25401 of the California Corporations Code.
             3
                         205.       Defendants, separately or together, directly or indirectly, caused a false statement
             4
                 or omission to be made in connection with the offers or sales of a security. These false statements
             5
                 or omissions are specifically set out in above paragraphs of this Complaint.
             6
                         206.       Defendants, separately or together, sold and offered to sell XRP, a security, in the
             7
                 state of California.
             8
                         207.       Defendants, separately or together, had knowledge of the falsity or misleading
             9
                 nature of a statement or omission made in connection with the offers or sales of XRP.
           10
                 Alternatively, Defendants, separately or together, were negligent in failing to investigate and
           11
                 discover the falsity of the statement or omission.
           12
                         208.       Defendants, separately or together, were aware that a fact being misrepresented or
           13
                 omitted was material to the buyer’s decision to purchase XRP.
           14
                         209.       By virtue of the conduct alleged herein, Defendants are liable, jointly or severally,
           15
                 for the wrongful conduct complained of herein and are liable to Plaintiff for rescission and/or
           16
                 damages suffered.
           17
                                                            COUNT V
           18              Violation of Sections 25110 and 25504 of the California Corporations Code
           19                                 (Against the Ripple and Garlinghouse)
                         210.       Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-210 above as
           20
                 if fully set forth herein.
           21
                         211.       This Count is asserted against Defendants Ripple and Garlinghouse under Section
           22
                 25504 of the California Corporations Code.
           23
                         212.       Defendants Ripple and Garlinghouse, by virtue of their offices, stock ownership,
           24
                 agency, agreements or understandings, and specific acts were, at the time of the wrongs alleged
           25
                 herein, and as set forth herein, controlling persons within the meaning of Section 25504 of the
           26
                 California Corporations Code. Defendants Ripple and Garlinghouse, and each of them, had the
           27
                 power and influence and exercised the same to cause the unlawful offer and sale of XRP
           28
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             1
                 securities as described herein in violation of Section 25110 of the California Corporations Code.
             2
                         213.       Defendants Ripple and Garlinghouse, separately or together, possess, directly or
             3
                 indirectly, the power to direct or cause the direction of the management and policies of XRP II,
             4
                 through ownership of voting securities, by contract, subscription agreement, or otherwise.
             5
                 Defendant Garlinghouse also has the power to direct or cause the direction of the management
             6
                 and policies of Ripple.
             7
                         214.       Defendants Ripple and Garlinghouse, separately or together, have sufficient
             8
                 influence to have caused XRP II and/or Ripple to submit a registration or qualification statement.
             9
                         215.       Defendants Ripple and Garlinghouse, separately or together, jointly participated
           10
                 in, and/or aided and abetted, XRP II and/or Ripple’s failure to register XRP in violation of
           11
                 Section 25110.
           12
                         216.       By virtue of the conduct alleged herein, Defendants Ripple and Garlinghouse are
           13
                 liable for the wrongful conduct complained of herein and are liable to Plaintiff for rescission
           14
                 and/or damages suffered.
           15
                                                         COUNT VI
           16       False Advertising in Violation of Business and Professions Code Section 17500, et seq.
           17                                      (Against All Defendants)
                         217.       Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-217 above as
           18
                 if fully set forth herein.
           19
                         218.       Plaintiff brings this sixth claim for relief for false advertising in violation of
           20
                 California Business and Professions Code Section 17500 under the alternative theory that XRP is
           21
                 not a security.
           22
                         219.       Defendants operate a business where they intended to, and did, sell XRP to
           23
                 members of the general public, including Plaintiff.
           24
                         220.       Defendants cause to be made or disseminated through California and the United
           25
                 States through advertising, marketing and other publications, statements that were untrue or
           26
                 misleading, and which were known, or which by the exercise of reasonable care should have been
           27
                 known to Defendants, to be untrue and misleading to consumers and Plaintiff.
           28
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             1
                           221.       Defendants have violated section 17500 because the misrepresentations and
             2
                 omissions they made, as set forth in above paragraphs of this Complaint were material and likely
             3
                 to deceive a reasonable consumer.
             4
                           222.       As a direct and proximate result of Defendants’ false advertisements, Plaintiff has
             5
                 suffered injury to their property and have been deprived of the benefits of fair competition.
             6
                 Plaintiff paid artificially inflated prices for XRP.
             7
                           223.       Had the Plaintiff known the truth, he would not have purchased XRP and/or paid
             8
                 as much for it.
             9
                           224.       As a result, Plaintiff has suffered damages in an amount according to proof at trial.
           10
                                                        COUNT VII
           11      Unfair Competition in Violation of Business and Professions Code Section 17200, et seq.
           12                                     (Against All Defendants)

           13
                           225.       Plaintiff BMA incorporates the allegations set forth in Paragraphs 1-225 above as
           14
                 if fully set forth herein.
           15
                           226.       Plaintiff brings this seventh claim for relief for unfair competition in violation of
           16
                 California Bus. & Prof. Code §§ 17200 under the alternative theory that XRP is not a security.
           17
                           227.       California Business and Professions Code section 17200 prohibits any “unlawful,
           18
                 unfair, or fraudulent business act or practices.” Defendants have engaged in unlawful, fraudulent,
           19
                 and unfair business acts and practices in violation of the California Unfair Competition Law.
           20
                           228.       Defendants have violated the unlawful prong of section 17200 by their violations
           21
                 of the federal and state securities laws, including Sections 5(a), 5(c), and 12(a) of the Securities
           22
                 Act, 15 U.S.C. §§ 77e(a), 77e(c), and 77l(a), Sections 25401, 25110, and 25503 of the California
           23
                 Corporations Code, and with respect to Defendants Ripple and Garlinghouse, Section 15 of the
           24
                 Securities Act, 15 U.S.C. § 77o and Sections 25504 and 25110 of the California Corporations
           25
                 Code.
           26
                           229.       Defendants have also violated the unlawful prong of section 17200 by their
           27
                 violations of California’s False Advertising Law (Bus. & Prof. Code §§ 17200, et seq.), as set
           28
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             1
                 forth above.
             2
                         230.       Defendants have also violated the “fraudulent” prong of section 17200 by making
             3
                 false and misleading statements regarding XRP to drive demand for XRP in order to artificially
             4
                 inflate the price at which they can sell XRP, as set forth in this Complaint. These false and
             5
                 misleading statements include statements regarding the genesis of XRP, the circulating supply of
             6
                 XRP, adoption of XRP, and are set forth in paragraphs 41-42, 47-48, 51-53, 56-57, 64-75.
             7
                         231.       Defendants have also violated the “unfair” prong of section 17200 because the acts
             8
                 and practices set forth in this Complaint offend established public policy, and because the harm
             9
                 they cause to investors and purchasers of XRP greatly outweighs any benefits associated with
           10
                 those practices.
           11
                         232.       Defendants’ conduct has also prevented Plaintiff from making fully informed
           12
                 decisions about their purchases of XRP.
           13
                         233.       In purchasing XRP, the Plaintiff relied on the misrepresentations made by
           14
                 Defendants. Plaintiff saw and relied on Ripple’s repeated representations that adoption of XRP by
           15
                 financial institutions and banks would drive demand for XRP. Had the Plaintiff known the truth
           16
                 about XRP, he would not have purchased XRP and/or paid as much for it.
           17
                         234.       The Plaintiff has suffered an injury in fact, including the loss of money or
           18
                 property, as a result of Defendants’ unfair, unlawful and/or deceptive practices. As a result of the
           19
                 aforementioned acts, Plaintiff suffered an injury in fact, including the loss of money or property.
           20
                 Defendants received and continue to hold money and property belonging to Plaintiff.
           21
                         235.       All of the wrongful conduct alleged herein occurred, and continues to occur, in the
           22
                 conduct of Defendants’ business. Defendants’ wrongful conduct is part of a pattern or generalized
           23
                 course of conduct that is still perpetuated and repeated, both in the State of California and
           24
                 nationwide.
           25
                         236.       Plaintiff has no adequate remedy at law for the injuries, which it has suffered and
           26
                 will continue to suffer in the future.
           27
           28
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             1                                                                 PRAYER
             2           By reason of the foregoing, Plaintiff BMA respectfully requests that this Court:

             3           (a)        enter a judgment that XRP is a security and that Defendants, and each of them,

             4   conducted unregistered sales of XRP in violation of federal and California securities laws;

             5           (b)        enter a judgment that Defendants, and each of them, have engaged in unfair

             6   business practices in violation of Cal. Bus. & Prof. Code § 17200 et seq.;

             7           (c)        enter a judgment pursuant to Cal. Bus. & Prof. Code § 17203, that Defendants, and

             8   each of them, jointly and severally, be required to make restitution of any money or other

             9   property that may have been acquired by their violations of Cal. Bus. & Prof. Code § 17200 et

           10    seq. to Plaintiff BMA in an amount to be proven at trial;

           11            (d)        enter a judgment pursuant to Cal. Bus. & Prof. Code § 17203, that Defendants, and

           12    each of them, be permanently enjoined from engaging in unfair competition as defined in Cal.

           13    Bus. & Prof. Code § 17200, including, but not limited to, the acts and practices alleged in this

           14    Complaint;

           15            (e)        enter a judgment that Defendants, and each of them, have engaged in false

           16    advertising in violation of Cal. Bus. & Prof. Code § 17500 et seq.;

           17            (f)        preliminarily and permanently enjoin Defendants, and each of them, their officers,

           18    subsidiaries, affiliates distributors, agents, servants, employees, attorneys, and all persons in

           19    active concert with them, from any further violation of Federal and California laws;

           20            (g)        award compensatory damages to Plaintiff BMA and against all Defendants, and

           21    each of them, jointly and severally, in the amount to be proven at trial;

           22            (h)        award reasonable attorney fees, costs and prejudgment interest to Plaintiff BMA

           23    and against all Defendants, and each of them, jointly and severally; and

           24            (i)        award Plaintiff BMA such other relief as this Court deems just and proper.

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           28
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             1

             2   Dated: May 1, 2020                                                          Respectfully submitted,

             3                                                                               By:        /s/ Pavel I. Pogodin, Ph.D.
                                                                                                        Pavel I. Pogodin
             4
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                                                                                             Attorneys for Plaintiff
           10
                                                                                             Bitcoin Manipulation Abatement LLC
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             1                                                DEMAND FOR JURY TRIAL
             2
             3   Pursuant to Fed. R. Civ. P. 38, Plaintiff BMA demands trial by jury of all issues triable to a jury.
             4
                 Dated: May 1, 2020                                                           Respectfully submitted,
             5
                                                                                              By:        /s/ Pavel I. Pogodin, Ph.D.
             6                                                                                           Pavel I. Pogodin
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